Case 2:OO-cr-20220-SHI\/| Document 473 Filed 06/16/05 Page 1 of 2 Page|D 538

IN THE UNITED STATEs oF AMERICA :- oh ...... o
FoR THE WESTERN DISTRICT 0F TENNESSEE , , __
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WESTERN DIVISION
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~`~ ‘§. 1,3,3_ DIST. CT_
`@FF~?Y? W-Fl ‘~FF "S`N. wattsst

 

UNITED S'I`ATES OF AMERICA

v. CR. NO. 00-20220-03-Ma

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LAVELLE BATES

 

ORDER HOLDING DEFENDANT FOR REVOCATION HEARING

 

On June 16, 2005, the defendant appeared before me on a charge of
violation of the terms and conditions of his/her probation/supervised release in this matter. At this
hearing, the defendant WAIVED his/her right to a preliminary hearing

Greg Gil]uly, AUSA, representing the government, and Robert lrby,
defense attorney, representing the defendant, Were present.

Accordingly, the defendant is held to a final revocation hearing before Judge Samuel H.
Mays, Jr. lt is presumed that the United States District Court will set this matter for a revocation
hearing pursuant to Federal Rule of Criminal Procedure 32.l(a)(2), and Will see that appropriate
notices are given.

The defendant is remanded to the custody of the United States Marshal.

IT ls so oRDERED this 46 dayof YM ,2005.

CS':??,;M@

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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This notice confirms a copy of the document docketed as number 473 in
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Honorable Samuel Mays
US DISTRICT COURT

